                                                      CRIMINAL COVER SHEET
                                                   MIDDLE DISTRICT OF TENNESSEE
                                                       NASHVILLE      DIVISION

Indictment        ( )
Complaint         ( )                                                    County of Offense:            Davidson
Information       (x)                                                    AUSA’s NAME:                  S. Carran Daughtrey
Misdemeanor       ( )
Felony            (x)                                                    Reviewed by AUSA:               SCD
Juvenile          ( )                                                                               (Initials)

Christopher LYDICK
Defendant’s Full Name

2335 Tortuga Ct., Murfreesboro, TN                                           Interpreter Needed?         ___ Yes          x     No
Defendant’s Address
                                                                             If Yes, what language?
Larry Arnkoff
Defendant’s Attorney


 COUNTS             TITLE/SECTION                           OFFENSE CHARGED                        MAX. PRISON (plus any               MAX.
                                                                                                    mandatory minimums)                FINE

 1             18 USC § 1030(a)(5)(A)          Intentionally Causing Damage Without                10 years                      $250,000
                                               Authorization to a Protected Computer

Is the defendant currently in custody?         ( ) Yes (x) No                                       If Yes, State or Federal?
                                                                                                    Writ requested ( )
Has a complaint been filed?                ( ) Yes (x) No
    If Yes: Name of Magistrate Judge                                                                Case No.:
            Was the defendant arrested on the complaint?  ( ) Yes ( ) No

Has a search warrant been issued?              ( ) Yes (x) No
    If Yes: Name of Magistrate Judge                                                                Case No.:

Was bond set by Magistrate/District Judge: ( ) Yes ( ) No (x) Not Applicable                        Amount of bond:

Is this a Rule 20? ( ) Yes (x) No          To/from what district?
Is this a Rule 40? ( ) Yes (x) No          To/from what district?

Is this case related to a pending or previously filed case? ( ) Yes      (x) No
     What is the related case number?
     Who is the Magistrate Judge?

Estimated trial time:           2-3 days

The Clerk will issue a        Summons                   (Note: if information, request for a warrant requires presentment of a sworn
affidavit of probable cause to a judicial officer, who will determine whether to issue a warrant)

Detention requested: Yes ( ) No (x) Recommended conditions of release:




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